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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION


JOSE JUAN MAYSONET, JR.        )
                               )                               Case No. 18-cv-02342
                Plaintiff      )
                               )
      vs.                      )                               Honorable Mary M. Rowland
                               )
                               )
REYNALDO GUEVARA, ERNEST       )
HALVORSEN, EDWARD MINGEY       )                               JURY DEMAND
LEE EPPLEN, FERNANDO MONTILLA, )
ROLAND PAULNITSKY, FRANK       )
DIFRANCO, CITY OF CHICAGO, and )
COOK COUNTY                    )
                               )
                Defendants,    )

               MOTION TO STRIKE THE DEFENDANT CITY’S MOTION
                          FOR A PROTECTIVE ORDER

       NOW COMES, the Plaintiff, JOSE JUAN MAYSONET, JR., by and through his

counsel the Bonjean Law Group, PLLC, and moves to strike the City Defendant’s motion for a

protective order in connection with the above-captioned case where the City made no effort to

meet and confer on this issue, the issue has been fully litigated, and no supporting affidavits are

attached to the motion which has little applicability to this case in any event.

       1.      At the outset, the City did not discharge its meet and confer obligations prior to

filing this motion. Frankly, Plaintiff is confused by this latest filing where the City did not raise

these complaints in the parties’ latest status report filed on August 30, 2021 but rather, indicated

that it would be able to produce the ordered homicide files in 3 to 4 months. Indeed, undersigned

counsel reached out to the City to discuss production of Monell discovery as recently as

September 8, 2021, only to have her email ignored.



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         2.     Second, the City’s motion has little applicability to this case. The City’s first

argument relates largely to the burden of requiring the CCSAO and CCPDO to produce

corresponding homicide files to the City’s production. But Plaintiff in this case has not

subpoenaed any files from the CCSAO and CCPDO, and even stated in the last status report that

he is attempting not to burden those entities by seeking all corresponding homicide files. Plaintiff

wrote:

         Plaintiff has not yet decided whether or not he will seek all corresponding
         homicide files from the CCSAO and/or the Cook County Public Defender’s
         Office. With the existence of an expert, Plaintiff is exploring whether it is
         possible to identify a statistically sound representative group of homicide files
         from the City’s production and seek only the corresponding files from that
         representative group. [Doc. No.195]

         3.     Thus, even if the City had standing to file a protective order on behalf of

two other county entities, the motion is grossly premature and devoid of supporting

affidavits. Of course, the City could help itself and the CCSAO and CCPDO by working

with Plaintiffs’ counsels to agree on what would constitute a representative group of

homicide files, but the City has repeatedly failed to make that concession.

         4.     As reflected in the City’s most recent status report, the City must produce

350-375 homicide files to comply with this Court’s prior order. The City stated that it

anticipates accomplishing that within 3 to 4 months.

         5.     The City has offered no affidavit explaining why it is unduly burdened by

this obligation other than to point to other cases where it apparently must make

substantial production of homicide files. The City’s attempt to show an undue burden in

this case by pointing to its burden in other unrelated cases is inappropriate. These cases

are not joined for discovery purposes or for any other purpose.




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       6.      Additionally, the City’s criticism of Plaintiff’s Monell theories has already

been litigated in both a Motion to Bifurcate Monell discovery and in its response to

Plaintiff’s Motion to Compel the homicide files. The City offers no new arguments that

would justify reconsideration of this Court’s prior rulings and continues to hold a very

narrow, even misplaced, view of how Plaintiff may prove this Monell theories.

       7.      It is not Plaintiff’s fault that the City faces the burden of producing

homicide files for an expansive time period, because the Defendant officers engaged in

unchecked misconduct for decades. This is precisely why the City is in the position of

defending a Monell claim.

       8.      At bottom, the City simply hasn’t provided any of the necessary support to

justify this request, particularly where Plaintiff has already agreed without prompting to

attempt to minimize any burden to the CCSAO and the CCPDO.



                                                      Sincerely,

                                                      /s/JENNIFER BONJEAN

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